         Case 16-10738-mdc                     Doc       Filed 07/10/19 Entered 07/10/19 20:23:05                                  Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 6
 Debtor 1              Bryan T Maloney
                       __________________________________________________________________


 Debtor 2               Cindy G Maloney
                        ________________________________________________________________
 (Spouse, if filing)

                                         Eastern
 United States Bankruptcy Court for the: ______________________
                                                                               Pennsylvania
                                                                District of __________
                                                                             (State)
 Case number            16-10738-mdc
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                                U.S. Bank Trust National Association,
                   as Trustee of Cabana Series III Trust
 Name of creditor: _______________________________________                                                           17
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                           8 ____
                                                         ____ 6 ____
                                                                  0 ____
                                                                       2                 Must be at least 21 days after date        08   01   2019
                                                                                                                                    ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                           2,434.78
                                                                                                                                    $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
          No
          Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             932.20
                   Current escrow payment: $ _______________                           New escrow payment:           1,379.09
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                               page 1
          Case 16-10738-mdc                         Doc           Filed 07/10/19 Entered 07/10/19 20:23:05                            Desc Main
                                                                  Document      Page 2 of 6

Debtor 1         Bryan T Maloney
                 _______________________________________________________                                               16-10738-mdc
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.

     
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 _____________________________________________________________
  /s/ Michelle R. Ghidotti-Gonsalves
     Signature
                                                                                                Date    07 10 2019
                                                                                                        ____/_____/________




 Print:             Michelle R. Ghidotti-Gonsalves
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger, LLP
                    _________________________________________________________



 Address            1920 Old Tustin Ave
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            mghidotti@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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  NEW PAYMENT EFFECTIVE 08/01/2019                   $2,434.78
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                                Document      Page 4 of 6




      __________   __________   __________   __________
           $0.00      $876.22       $0.00     $5,349.36




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  .
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 1    Michelle R. Ghidotti-Gonsalves, Esq. (SBN 27180)
      GHIDOTTI | BERGER
 2    1920 Old Tustin Ave.
 3    Santa Ana, CA 92705
      Ph: (949) 427-2010
 4    Fax: (949) 427-2732
      mghidotti@ghidottiberger.com
 5
 6    Attorney for Creditor
      U.S. Bank Trust National Association, as Trustee of Cabana Series III Trust
 7
                           UNITED STATES BANKRUPTCY COURT
 8             EASTERN DISTRICT OF PENNSYLVANIA– PHILADELPHIA DIVISION
 9    In Re:                                               )   CASE NO.: 16-10738
                                                           )
10                                                         )   CHAPTER 13
      Bryan T Maloney and Cindy G Maloney,
11                                                         )
               Debtors.                                    )   CERTIFICATE OF SERVICE
12                                                         )
                                                           )
13
                                                           )
14                                                         )
                                                           )
15                                                         )
                                                           )
16
                                                           )
17
18                                     CERTIFICATE OF SERVICE
19
20             I am employed in the County of Orange, State of California. I am over the age of

21    eighteen and not a party to the within action. My business address is: 1920 Old Tustin
22    Avenue, Santa Ana, CA 92705.
23
               I am readily familiar with the business’s practice for collection and processing of
24
      correspondence for mailing with the United States Postal Service; such correspondence would
25
26    be deposited with the United States Postal Service the same day of deposit in the ordinary

27    course of business.
28    On July 10, 2019 I served the following documents described as:

                     NOTICE OF MORTGAGE PAYMENT CHANGE

                                                       1
                                        CERTIFICATE OF SERVICE
     Case 16-10738-mdc        Doc     Filed 07/10/19 Entered 07/10/19 20:23:05             Desc Main
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 1
      on the interested parties in this action by placing a true and correct copy thereof in a sealed
 2
 3    envelope addressed as follows:

 4    (Via United States Mail)
      Debtor                                              Debtor’s Counsel
 5    Bryan T Maloney                                     MICHAEL P. KELLY
 6    1265 Barclay Crescent                               Cowan & Kelly
      Morrisville, PA 19067                               202 Penns Square
 7                                                        Langhorne, PA 19047
      Joint Debtor
 8
      Cindy G Maloney                                     U.S. Trustee
 9    1265 Barclay Crescent                               United States Trustee
      Morrisville, PA 19067                               Office of the U.S. Trustee
10                                                        833 Chestnut Street
      Chapter 13 Trustee                                  Suite 500
11
      WILLIAM C. MILLER, Esq.                             Philadelphia, PA 19107
12    Chapter 13 Trustee
      P.O. Box 1229
13    Philadelphia, PA 19105
14
      _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
15    the United States Postal Service by placing them for collection and mailing on that date
      following ordinary business practices.
16
17    ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
      Eastern District of California
18
      __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
19    America that the foregoing is true and correct.
20
             Executed on July 10, 2019 at Santa Ana, California
21
      /s / Lauren Simonton
22    Lauren Simonton
23
24
25
26
27
28




                                                      2
                                       CERTIFICATE OF SERVICE
